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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


MATTHEW ELLISON, Individually and on                  Case No. __________________
Behalf of All Others Similarly Situated,

                               Plaintiff,
       v.

TUFIN SOFTWARE TECHNOLOGIES LTD.,                     DEMAND FOR JURY TRIAL
REUVEN KITOV, JACK WAKILEH,
REUVEN HARRISON, OHAD FINKELSTEIN,
EDOUARD CUKIERMAN, YAIR SHAMIR,
RONNI ZEHAVI, YUVAL SHACHAR, J.P.
MORGAN SECURITIES LLC, BARCLAYS
CAPITAL INC., JEFFERIES LLC,
OPPENHEIMER & CO. INC., ROBERT W.
BAIRD & CO. INCORPORATED, PIPER
JAFFRAY & CO., STIFEL, NICOLAUS &
COMPANY, INCORPORATED, WILLIAM
BLAIR & COMPANY, L.L.C., and D.A.
DAVIDSON & CO.,

                               Defendants.


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                          FEDERAL SECURITIES LAWS

       Plaintiff Matthew “Matt” Ellison (“Ellison” or “Plaintiff”), individually and on behalf of

all others similarly situated, by Plaintiff’s undersigned attorneys, alleges the following based upon

personal knowledge, as to Plaintiff and Plaintiff’s own acts, and upon information and belief, as

to all other matters, based on the investigation conducted by and through Plaintiff’s attorneys,

which included, among other things, a review of U.S. Securities and Exchange Commission

(“SEC”) filings made by Tufin Software Technologies Ltd. (“Tufin” or the “Company”), analyst

and media reports, and the Company’s press releases, among other sources. Plaintiff believes that

substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.
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                       NATURE AND SUMMARY OF THE ACTION

       1.      On March 6, 2019, Tufin filed a registration statement with the SEC on Form F-1,

which, after several amendments, was declared effective on April 10, 2019 (the Form F-1, together

with all amendments, is referred to herein as the “April Registration Statement”). Thereafter, on

April 11, 2019, Tufin filed a prospectus for its initial public offering (the “IPO”) on Form 424B4,

which incorporated and formed part of the April Registration Statement (the “April Prospectus”

and collectively, with the April Registration Statement, the “IPO Offering Documents”), issuing

7,700,000 ordinary shares to the investing public at $14.00 per share (the “IPO Price”), for

anticipated gross proceeds of $107,800,000.

       2.      On December 2, 2019, the Company filed a second registration statement with the

SEC on Form F-1, which was declared effective on December 5, 2019 (the “December

Registration Statement”). Thereafter, on December 5, 2019, Tufin filed a prospectus for its

secondary offering (the “SPO”) on Form 424B4, which incorporated and formed part of the

December Registration Statement (the “December Prospectus” and collectively, with the

December Registration Statement, “SPO Offering Documents”), issuing an additional 4,279,882

ordinary shares to the investing public at $17.00 per share (the “SPO Price”), for anticipated gross

proceeds of $72,757,994.

       3.      The IPO and SPO Offering Documents (together, the “Offering Documents”) that

Tufin and the other Defendants (defined below) used to ultimately secure over $180 million,

combined, in net proceeds from investors, however, contained misleading statements in that,

among other things: (i) Tufin’s customer relationships and growth metrics were overstated,

particularly with respect to North America; (ii) Tufin’s business was deteriorating, primarily in

North America; and (iii) as a result, Tufin’s representations regarding its sustainable financial

prospects were overly optimistic.


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       4.      On January 8, 2020, after the market closed, Tufin released its preliminary fourth

quarter financial results for 2019 and announced significantly lowered financial expectations,

specifically: (i) it expected to report total revenue in the range of $29.5 million to $30.1 million,

lowered from its previous guidance of total revenue in the range of $34.0 million to $38.0 million;

and (ii) it now anticipated non-Generally Accepted Accounting Principles (“GAAP”) operating

loss in the range of $1.1 million to $2.6 million, compared to the previous guidance of non-GAAP

operating profit in the range of $0.0 million to $3.0 million. The primary reason given for the

revenue shortfall was Tufin’s “inability to close a number of transactions, primarily in North

America, that [the Company] anticipated would close but did not close by the end of the quarter.”

       5.      Following this news, Tufin’s stock fell 24%, or $4.14 per share, and its market

capitalization declined nearly $145 million.

       6.      This securities class action is brought on behalf of Plaintiff and all other persons or

entities, except for Defendants, who purchased stock in the Company’s April 2019 IPO and/or

December 2019 SPO pursuant and/or traceable to the misleading Offering Documents. Plaintiff

brings this class action under §§11, 12(a)(2), and 15 of the Securities Act of 1933 (the “Securities

Act”) against: (i) Tufin; (ii) certain of the Company’s senior executives, directors, and agents who

signed the Offering Documents; and (iii) each of the investment banks that acted as underwriters

for the Offering (collectively, “Defendants”). The Securities Act protects investors and the capital

markets of the United States by preventing companies and underwriters from issuing shares to

investors by means of incomplete and inaccurate offering documents.

       7.      Plaintiff alleges that the Offering Documents contained materially incorrect or

misleading statements and/or omitted material information that was required by law to be

disclosed. Defendants are each strictly liable for such misstatements and omissions therefrom




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(subject only, in the case of the Individual and Underwriter Defendants (both defined below), to

their ability to establish a “due diligence” affirmative defense and are so liable in their capacities

as signers of the Offering Documents, control persons, and/or as issuers, statutory sellers, offerors,

and/or underwriters of the shares sold pursuant to the IPO and SPO (together, the “Offerings”)).

Plaintiff expressly disclaims any allegations that could be construed as alleging fraud or intentional

or reckless misconduct.

                                 JURISDICTION AND VENUE

       8.      The claims asserted herein arise under and are pursuant to §§11, 12(a)(2), and 15

of the Securities Act.

       9.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §1331 and §22 of the Securities Act (15 U.S.C. §77v).

       10.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and §22(a) of the

Securities Act (15 U.S.C. §77v(a)) as the alleged misstatements entered and subsequent damages

took place within this judicial district. Further, Defendants’ false and misleading statements and

omissions were disseminated in this District and Tufin’s common stock is listed on the New York

Stock Exchange (“NYSE”), a national securities exchange, that is located in this District.

       11.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the U.S. mail, interstate telephone communications, and facilities of

the national securities exchange.

                                             PARTIES

       A.      Plaintiff

       12.     Plaintiff Ellison purchased Tufin common stock pursuant or traceable to the

Offering Documents and was damaged thereby.


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       B.     Defendants

              i.     Tufin

       13.    Defendant Tufin is an Israeli company that develops, markets, and sells software

and cloud-based security solutions primarily in the United States, Europe, and Asia. Tufin’s

common stock trades on the NYSE under the ticker symbol “TUFN.”

              ii.    The Individual Defendants

       14.    At all relevant times, Defendant Reuven Kitov (“Kitov”), who co-founded the

Company, served as Tufin’s Chief Executive Officer (“CEO”) and Chairman of the Board of

Directors (the “Board”). Defendant Kitov signed, or authorized the signing of, both the IPO and

SPO Offering Documents.

       15.    At all relevant times, Defendant Jack Wakileh (“Wakileh”) served as Tufin’s Chief

Financial Officer (“CFO”). Defendant Wakileh signed, or authorized the signing of, both the IPO

and SPO Offering Documents.

       16.    At all relevant times, Defendant Reuven Harrison (“Harrison”), who co-founded

the Company, served as Tufin’s Chief Technology Officer and as a director on the Board.

Defendant Harrison signed, or authorized the signing of, both the IPO and SPO Offering

Documents.

       17.    At all relevant times, Defendant Ohad Finkelstein (“Finkelstein”) served as a

director on the Board. Defendant Finkelstein signed, or authorized the signing of, both the IPO

and SPO Offering Documents.

       18.    At all relevant times, Defendant Edouard Cukierman (“Cuikerman”) served as a

director on the Board. Defendant Cukierman signed, or authorized the signing of, both the IPO

and SPO Offering Documents.




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       19.     At all relevant times, Defendant Yair Shamir (“Shamir”) served as a director on the

Board. Defendant Shamir signed, or authorized the signing of, both the IPO and SPO Offering

Documents.

       20.     At all relevant times, Defendant Ronni Zehavi (“Zehavi”) served as a director on

the Board. Defendant Zehavi signed, or authorized the signing of, both the IPO and SPO Offering

Documents.

       21.     At all relevant times, Defendant Yuval Shachar (“Shachar”) served as a director on

the Board. Defendant Shachar signed, or authorized the signing of, both the IPO and SPO Offering

Documents.

       22.     Defendants named in ¶¶14-21 above are collectively referred to herein as the

“Individual Defendants.” The Individual Defendants each signed, or authorized the signing of, the

IPO and SPO Offering Documents, were director appointees of the Board at the time of the IPO

and SPO, solicited the investing public to purchase securities issued pursuant thereto, hired and

assisted the underwriters, planned and contributed to the IPO, SPO, and their respective Offering

Documents, and/or attended or contributed to road shows and other promotions to meet with and

present favorable information to potential Tufin investors, all motivated by their own and the

Company’s financial interests.

               iii.    The Underwriter Defendants

       23.     The following underwriters were also instrumental in soliciting and making the

securities in the IPO and SPO available to the investing public:

                      Name                   # of IPO Shares         # of SPO Shares
          J.P. Morgan Securities LLC            3,041,500               1,594,256
              Barclays Capital Inc.             1,809,500                909,475
                  Jefferies LLC                 1,155,000                545,685
             Oppenheimer & Co. Inc.              539,000                 288,892


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                     Name                   # of IPO Shares          # of SPO Shares
            Robert W. Baird & Co.
                                                    ---                  256,793
                  Incorporated
              Piper Jaffray & Co.                385,000                 213,994
         Stifel, Nicolaus & Company,
                                                 385,000                 213,994
                  Incorporated
          William Blair & Company,
                                                 385,000                 213,994
                     L.L.C.
             D.A. Davidson & Co.                    ---                   42,799


       24.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) was an underwriter of the

Company’s IPO and SPO, serving as a financial advisor for and assisting in the preparation and

dissemination of the Company’s false and misleading IPO and SPO Offering Documents. J.P.

Morgan acted as a book-running manager of the Offerings and as a representative of all the

underwriters. J.P. Morgan also participated in conducting and promoting the roadshow for the

IPO and SPO and paying for the expenses of the Individual Defendants who participated in the

roadshow, including lodging and travel, among other expenses. J.P. Morgan’s participation in the

solicitation of the IPO and SPO was motivated by its financial interests. Defendant J.P. Morgan

maintains offices at 277 Park Avenue, New York, New York 10172.

       25.     Defendant Barclays Capital Inc. (“Barclays”) was an underwriter of the Company’s

IPO and SPO, serving as a financial advisor for and assisting in the preparation and dissemination

of the Company’s false and misleading IPO and SPO Offering Documents. Barclays acted as a

book-running manager of the Offerings and as a representative of all the underwriters. Barclays

also participated in conducting and promoting the roadshow for the IPO and SPO and paying for

the expenses of the Individual Defendants who participated in the roadshow, including lodging

and travel, among other expenses. Barclay’s participation in the solicitation of the IPO and SPO

was motivated by its financial interests. Defendant Barclays maintains offices at 745 7th Avenue,

New York, NY 10019.


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       26.    Defendant Jefferies LLC (“Jefferies”) was an underwriter of the Company’s IPO

and SPO, serving as a financial advisor for and assisting in the preparation and dissemination of

the Company’s false and misleading IPO and SPO Offering Documents. Jefferies acted as a

book-running manager of the Offerings and as a representative of all the underwriters. Jefferies

also participated in conducting and promoting the roadshow for the IPO and SPO and paying for

the expenses of the Individual Defendants who participated in the roadshow, including lodging

and travel, among other expenses. Jefferies’ participation in the solicitation of the IPO and SPO

was motivated by its financial interests. Defendant Jefferies maintains offices at 520 Madison

Avenue, 10th Floor, New York, New York 10022.

       27.    Defendant Oppenheimer & Co. Inc. (“Oppenheimer”) was an underwriter of the

Company’s IPO and SPO, serving as a financial advisor for and assisting in the preparation and

dissemination of the Company’s false and misleading IPO and SPO Offering Documents.

Oppenheimer participated in conducting and promoting the roadshow for the IPO and SPO and

paying for the expenses of the Individual Defendants who participated in the roadshow, including

lodging and travel, among other expenses. Oppenheimer’s participation in the solicitation of the

IPO and SPO was motivated by its financial interests. Defendant Oppenheimer maintains offices

at 85 Broad Street, 22nd Floor, New York, New York 10004.

       28.    Defendant Robert W. Baird & Co. Incorporated (“Baird”) was an underwriter of

the Company’s SPO, serving as a financial advisor for and assisting in the preparation and

dissemination of the Company’s false and misleading SPO Offering Documents.                Baird

participated in conducting and promoting the roadshow for the SPO and paying for the expenses

of the Individual Defendants who participated in the roadshow, including lodging and travel,

among other expenses. Baird’s participation in the solicitation of the SPO was motivated by its




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financial interests. Defendant Baird maintains offices at 1155 Avenue of the Americas, 16th Floor,

New York, New York 10036.

       29.     Defendant Piper Jaffray & Co. (“Piper Jaffray”) was an underwriter of the

Company’s IPO and SPO, serving as a financial advisor for and assisting in the preparation and

dissemination of the Company’s false and misleading IPO and SPO Offering Documents. Piper

Jaffray participated in conducting and promoting the roadshow for the IPO and SPO and paying

for the expenses of the Individual Defendants who participated in the roadshow, including lodging

and travel, among other expenses. Piper Jaffray’s participation in the solicitation of the IPO and

SPO was motivated by its financial interests. Defendant Piper Jaffray maintains offices at 345

Park Avenue, #1200, New York, NY 10154.

       30.     Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel”) was an underwriter

of the Company’s IPO and SPO, serving as a financial advisor for and assisting in the preparation

and dissemination of the Company’s false and misleading IPO and SPO Offering Documents.

Stifel participated in conducting and promoting the roadshow for the IPO and SPO and paying for

the expenses of the Individual Defendants who participated in the roadshow, including lodging

and travel, among other expenses. Stifel’s participation in the solicitation of the IPO and SPO was

motivated by its financial interests. Defendant Stifel maintains offices at 787 7th Avenue, 11th

Floor, New York, New York 10019.

       31.     Defendant William Blair & Company, L.L.C. (“William Blair”) was an underwriter

of the Company’s IPO and SPO, serving as a financial advisor for and assisting in the preparation

and dissemination of the Company’s false and misleading IPO and SPO Offering Documents.

William Blair participated in conducting and promoting the roadshow for the IPO and SPO and

paying for the expenses of the Individual Defendants who participated in the roadshow, including




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lodging and travel, among other expenses. William Blair’s participation in the solicitation of the

IPO and SPO was motivated by its financial interests. Defendant William Blair maintains offices

at 1166 Avenue of the Americas, 20th Floor, New York, New York 10036.

       32.     Defendant D.A. Davidson & Co. (“D.A. Davidson”) was an underwriter of the

Company’s SPO, serving as a financial advisor for and assisting in the preparation and

dissemination of the Company’s false and misleading SPO Offering Documents. D.A. Davidson

participated in conducting and promoting the roadshow for the SPO and paying for the expenses

of the Individual Defendants who participated in the roadshow, including lodging and travel,

among other expenses. D.A. Davidson’s participation in the solicitation of the SPO was motivated

by its financial interests. Defendant D.A. Davidson maintains offices at 757 3rd Avenue, #1902,

New York, New York 10017.

       33.     The Defendants named in ¶¶23-32 above are collectively referred to herein as the

“Underwriter Defendants.”

       34.     Pursuant to the Securities Act, the Underwriter Defendants are liable for the false

and misleading statements in the IPO and SPO Offering Documents. The Underwriter Defendants’

failure to conduct adequate due diligence investigations was a substantial factor leading to the

harm complained of herein.

       35.     The Underwriter Defendants are investment banking houses that specialize, inter

alia, in underwriting public offerings of securities. As the underwriters of the IPO and SPO, the

Underwriter Defendants earned lucrative underwriting fees as a result of their participation in the

IPO and SPO.

       36.     In addition, the Underwriter Defendants met with potential investors and presented

highly favorable, but materially incorrect and/or misleading, information about the Company, its




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business, products, plans, and financial prospects and/or omitted to disclose material information

required to be disclosed under the federal securities laws and applicable regulations promulgated

thereunder.

       37.     Representatives of the Underwriter Defendants also assisted the Company and

Individual Defendants with planning the IPO and SPO. They further purported to conduct an

adequate and reasonable investigation into the business, operations, products, and plans of the

Company, an undertaking known as a “due diligence” investigation. During the course of their

“due diligence,” the Underwriter Defendants had continual access to confidential corporate

information concerning the Company’s business, financial condition, products, plans, and

prospects.

       38.     In addition to having access to internal corporate documents, the Underwriter

Defendants and/or their agents, including their counsel, had access to the Company’s lawyers,

management, directors, and top executives to determine: (i) the strategy to best accomplish the

IPO and SPO; (ii) the terms of the IPO and SPO, including the price at which the Company’s

ordinary shares would be sold; (iii) the language to be used in the IPO and SPO Offering

Documents; (iv) what disclosures about the Company would be made in the IPO and SPO Offering

Documents; and (v) what responses would be made to the SEC in connection with its review of

the IPO and SPO Offering Documents. As a result of those constant contacts and communications

between the Underwriter Defendants’ representatives and the Company’s management and top

executives, at a minimum, the Underwriter Defendants should have known of the Company’s

undisclosed existing problems and plans and the material misstatements and omissions contained

in the IPO and SPO Offering Documents, as detailed herein.




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        39.     The Underwriter Defendants also demanded and obtained an agreement from Tufin

that the Company would indemnify and hold the Underwriter Defendants harmless from any

liability under the federal securities laws.

        40.     Tufin, the Individual Defendants, and the Underwriter Defendants are collectively

referred to herein as the “Defendants.”

                                SUBSTANTIVE ALLEGATIONS

        A.      Factual Background

        41.     Founded in 2005 by Defendants Kitov and Harrison, Tufin develops, markets, and

sells software and cloud-based security solutions, primarily in the United States, Europe, and Asia,

that is committed to increasing business agility, eliminating errors from manual processes, and

ensuring continuous compliance through a single console.

        42.     Tufin offers five products to over 2,000 customers, including approximately 16%

of the Global 2000, through a sales force, including field and inside sales teams, and over 140

active channel partners, which include distributors and resellers, as well as service delivery

partners that help customers deploy, configure, customize, and maintain Tufin’s products and

services.

        B.      The IPO and SPO Offering Documents Contained Materially Untrue and
                Misleading Statements

        43.     The Registration Statement and Prospectus used to effectuate Tufin’s April 2019

IPO was false and misleading in that it misled investors with respect to the Company’s North

American business and the fact that the Company’s customer relationships and growth metrics

were overstated, that Tufin’s business was deteriorating, and that, as a result, Tufin’s

representations regarding its sustainable financial prospects were overly optimistic, all of which

were known to, but concealed by, Defendants at the time of the IPO.



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       44.     For example, for the fiscal year ended December 31, 2018, the IPO Offering

Documents reported revenues from the Americas of $48.27 million, comprising 56.8% of Tufin’s

total revenues, compared to $35.02 million, or 54.3% of total revenues, for December 31, 2017,

thereby indicating both significant revenue growth from the Americas relative to other geographic

segments and substantial growth in the America’s segment, specifically.

       45.     The IPO Offering Documents also touted how “[t]he Americas accounted for the

majority of [Tufin’s] revenues in each of the years ended December 31, 2017 and 2018, nearly all

of which were generated in the United States.” And attributed increased revenues to “primarily [ ]

increased sales of [Tufin’s] products and services from new customers . . . and existing customers

. . . across all regions,” but that such growth was “most pronounced in the Americas.”

       46.     In addition, the IPO Offering Documents flaunted Tufin’s purportedly strong

customer relationships and technology products, citing both as being core parts of the Company’s

growth strategy. For example, the Offering Documents boasted that “[r]evenue generated from

[Tufin’s] Global 2000 customers, excluding maintenance renewals, represented an average of 65%

of [the Company’s] total revenue over the fiscal years ended December 31, 2016 to 2018” and,

further, that Tufin has a “significant growth opportunity with Global 2000 customers that currently

lack a security policy management solution or that use a competing product that lacks automation.”

       47.     The foregoing statements were materially inaccurate, misleading, and/or

incomplete because they failed to disclose, inter alia, that the Company’s North American business

was suffering at the time of Tufin’s IPO. More specifically, that: (i) Tufin’s customer relationships

and growth metrics were overstated, primarily because of its North American business; (ii) Tufin’s

business was deteriorating, especially in North America; and (iii) Tufin’s representations regarding

its sustainable financial prospects were, as a result, overly optimistic.




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        48.     With the foregoing materially untrue and misleading statements in the IPO Offering

Documents, the IPO was successful for the Company and its executives and directors, and the

Underwriter Defendants, with the Company selling 7.7 million ordinary shares to Plaintiff and

other members of the investing public, priced at $14.00 per share, raising approximately $107.8

million in capital.

        49.     The Registration Statement and Prospectus used to effectuate Tufin’s December

2019 SPO was similarly false and misleading as it continued to mislead investors with respect to

the Company’s North American business and the fact that the Company’s customer relationships

and growth metrics were overstated, that Tufin’s business was deteriorating, and that, as a result,

Tufin’s representations regarding its sustainable financial prospects were overly optimistic, all of

which were known to, but concealed by, Defendants at the time of the SPO.

        50.     For example, as was stated in Tufin’s IPO Offering Documents, the SPO Offering

Documents claimed that Tufin’s revenues from the Americas, for the fiscal year ended December

31, 2018, were $48.27 million, comprising 56.8% of Tufin’s total revenues, compared to $35.02

million, or 54.3%, of total revenues for December 31, 2017. As a result, Defendants again

indicated that Tufin experienced significant revenue growth from the Americas relative to other

geographic segments and that Tufin experienced substantial growth in the America’s segment,

specifically.

        51.     As well, the SPO Offering Documents repeated the assertion made in Tufin’s IPO

Offering Documents that “[t]he Americas accounted for the majority of our revenues in each of

the years ended December 31, 2017 and 2018,” adding further that the same was true “in each of

the nine months ended September 30, 2018 and 2019.” Moreover, the SPO Offering Documents

credited Tufin’s increased revenues “to increased sales of [the Company’s] products and services




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from new customers . . . and existing customers . . . across all regions,” but that such growth was

“most pronounced in the Americas.”

       52.     The SPO Offering Documents also continued to boast about Tufin’s strong

customer relationships and technology products, repeating the same about how “[r]evenue

generated from [Tufin’s] Global 2000 customers, excluding maintenance renewals, represented an

average of 65% of [the Company’s] total revenue over the fiscal years ended December 31, 2016

to 2018” and that Tufin has a “significant growth opportunity with Global 2000 customers that

currently lack a security policy management solution or that use a competing product that lacks

automation.”

       53.     The foregoing statements were materially inaccurate, misleading, and/or

incomplete because, again, they failed to disclose, inter alia, that the Company’s North American

business was suffering, this time as of Tufin’s SPO. More specifically, that: (i) Tufin’s customer

relationships and growth metrics were overstated, primarily because of its North America business;

(ii) Tufin’s business was deteriorating, especially in North America; and (iii) Tufin’s

representations regarding its sustainable financial prospects were, as a result, overly optimistic.

       54.     With the foregoing materially untrue and misleading statements in the SPO

Offering Documents, the SPO was successful for the Company and its executives and directors,

and the Underwriter Defendants, with the Company selling nearly 4.28 million shares of Tufin

stock to the public at $17.00 per share, generating more than $72.7 million in gross proceeds.

       55.     In addition, Item 303 of SEC Regulation S-K, 17 C.F.R. §229.303 (“Item 303”),

imposed an independent duty on Defendants to disclose in the IPO and SPO Offering Documents

any known events or uncertainties that Tufin “reasonably expects will have a material favorable

or unfavorable impact on the sales or revenues or income from continuing operations.” Defendants




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violated Item 303 by failing to disclose that, at the time of both the IPO and the SPO: (i) Tufin’s

customer relationships and growth metrics were overstated, primarily because of its North America

business; (ii) Tufin’s business was deteriorating, especially in North America; and (iii) Tufin’s

representations regarding its sustainable financial prospects were, as a result, overly optimistic.

These facts were likely to (and in fact did) materially and adversely affect Tufin’s future results

and prospects.

       56.       Further, Item 503 of SEC Regulation S-K, 17 C.F.R. §229.503 (“Item 503”), also

imposes an independent duty on Defendants to ensure that the “Risk Factors” section of the IPO

and SPO Offering Documents discuss “the most significant factors that make the offering

speculative or risky” and that each risks factor “adequately describes the risk.” Tufin’s discussions

of risk factors did not mention, much less adequately describe, the actual significant risks

associated with the sustainability of its customer relationships and financial prospects, particularly

in North America.        Instead, the IPO Offering Documents contained generic boilerplate

representations regarding seasonality in Tufin’s sales, noting that Tufin’s “sales cycle is long and

unpredictable, which may cause significant fluctuations in [its] quarterly results of operations,”

that “[t]he loss or delay of one or more large transactions in a quarter could impact [Tufin’s]

anticipated results of operations for that quarter and future quarters for which revenue from the

transaction is delayed,” and that the Company “may not be able to accurately predict or forecast

the timing of sales, which could cause [Tufin’s] results to vary significantly from [the Company’s]

expectations and the expectations of market analysts.”

       57.       The true facts regarding the IPO and SPO Offering Documents began to emerge

after both Offerings. Indeed, in the immediate wake of the SPO, on January 9, 2020, Tufin’s stock

price declined as investors processed the Company’s preliminary unaudited revenue and non-




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GAAP operating loss estimates for its fourth fiscal quarter of 2019. Notably, Tufin said that it

expected to report total revenue in the range of $29.5 million to $30.1 million, compared to its

previous guidance of total revenue in the range of $34.0 million to $38.0 million, and that Tufin

anticipated non-GAAP operating loss in the range of $1.1 million to $2.6 million, compared to the

Company’s previous guidance of non-GAAP operating profit in the range of $0.0 million to $3.0

million. According to Defendant Kitov, “[t]he primary reason for our revenue shortfall was our

inability to close a number of transactions, primarily in North America, that we anticipated would

close but did not close by the end of the quarter.” On this news, Tufin’s shares fells $4.14 per

share, or 24.04%, to close at $13.08 per share on January 9, 2020.

       58.     As of the time this Complaint was filed, Tufin shares continued to trade

significantly below both the IPO price of $14.00 per share and the SPO price of $17.00 per share.

       59.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of Tufin’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       60.     Plaintiff brings this action on behalf of a class consisting of all persons or entities

that purchased Tufin ordinary shares in or traceable to both the IPO and SPO pursuant to their

respective Offering Documents and who were damaged thereby (the “Class”). Excluded from the

Class are: the Defendants and Individual Defendants’ immediate family members; the officers,

directors, affiliates, and subsidiaries of Tufin and Underwriter Defendants, at all relevant times,

including Tufin’s employee retirement and/or benefit plan(s), and their participants or

beneficiaries, to the extent they made purchases through such plan(s); counsel of record for all

parties; any entity in which Defendants have or had a controlling interest (but in the case of the




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Underwriter Defendants, only such entities that they have a majority ownership interest in); and

the legal representatives, heirs, successors, or assigns of any such excluded person or entity.

       61.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the IPO and SPO, Tufin common stock was actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time, and can

only be ascertained through appropriate discovery, Plaintiff believes that there are thousands of

members in the proposed Class. The members of the proposed Class may be identified from

records maintained by the Company or its transfer agent and may be notified of the pendency of

this action by mail, using customary forms of notice that are commonly used in securities class

actions.

       62.      Plaintiff’s claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct.

       63.      Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class action and securities litigation.

Plaintiff has no interest, antagonism, or conflict with the members of the Class.

       64.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                (a)      whether the federal securities laws were violated by Defendants’ acts, as

       alleged herein;

                (b)      whether the IPO and SPO Offering Documents contained materially false

       and misleading statements and omissions; and




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                (c)    to what extent Plaintiff and the other members of the Class have sustained

          damages the proper measure of damages.

          65.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually redress

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

                                            COUNT I
                              Violations of §11 of the Securities Act
                                    (Against All Defendants)

          66.   Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

          67.   This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on

behalf of the Class, against each of the Defendants.

          68.   This is a non-fraud Count. Plaintiff does not assert that Defendants committed

intentional or reckless misconduct or that Defendants acted with scienter or fraudulent intent.

          69.   The April and December Registration Statements were inaccurate and misleading,

contained untrue statements of material facts, omitted facts necessary to make the statements made

therein not misleading, and omitted to state material facts required to be stated therein.

          70.   The Defendants named herein are strictly liable to Plaintiff and the Class for the

misstatements and omissions.

          71.   None of the Defendants named herein made a reasonable investigation or possessed

reasonable grounds for the belief that the statements contained in the April and December




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Registration Statements were true and without omissions of any material facts and were not

misleading.

         72.   Defendant Tufin is the registrant of the securities purchased by Plaintiff and the

Class. As such, the Company is strictly liable for the materially inaccurate statements contained

in the IPO and SPO Offering Documents and the failure of the IPO and SPO Offering Documents

to be complete and accurate. By virtue of the IPO and SPO Offering Documents containing

material misrepresentations and omissions of material fact necessary to make the statements

therein not false and misleading, Tufin is liable under §11 of the Securities Act to Plaintiff and the

Class.

         73.   The Individual Defendants each signed the IPO and SPO Offering Documents and

caused their issuance. As such, each is strictly liable for the materially inaccurate statements

contained in the IPO and SPO Offering Documents and the failure of the IPO and SPO Offering

Documents to be complete and accurate, unless they are able to carry their burden of establishing

an affirmative “due diligence” defense. The Individual Defendants each had a duty to make a

reasonable and diligent investigation of the truthfulness and accuracy of the statements contained

in the IPO and SPO Offering Documents and ensure that they were true and accurate, there were

no omissions of material facts that would make the IPO and SPO Offering Documents misleading,

and the IPO and SPO Offering Documents contained all facts required to be stated therein. In the

exercise of reasonable care, the Individual Defendants should have known of the material

misstatements and omissions contained in the IPO and SPO Offering Documents and also should

have known of the omissions of material fact necessary to make the statements made therein not

misleading. Accordingly, the Individual Defendants are liable to Plaintiff and the Class.




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       74.     The Underwriter Defendants each served as underwriters in connection with either

IPO or SPO (or both). As such, each is strictly liable for the materially inaccurate statements

contained in the IPO and SPO Offering Documents and the failure of the IPO and SPO Offering

Documents to be complete and accurate, unless they are able to carry their burden of establishing

an affirmative “due diligence” defense. The Underwriter Defendants each had a duty to make a

reasonable and diligent investigation of the truthfulness and accuracy of the statements contained

in the IPO and SPO Offering Documents. They had a duty to ensure that such statements were

true and accurate, there were no omissions of material facts that would make the IPO and SPO

Offering Documents misleading, and the IPO and SPO Offering Documents contained all facts

required to be stated therein. In the exercise of reasonable care, the Underwriter Defendants should

have known of the material misstatements and omissions contained in the IPO and SPO Offering

Documents and also should have known of the omissions of material facts necessary to make the

statements made therein not misleading. Accordingly, each of the Underwriter Defendants is liable

to Plaintiff and the Class.

       75.     Defendants acted negligently in preparing the IPO and SPO Offering Documents.

None of the Defendants named in this Count made a reasonable investigation or possess reasonable

grounds for the belief that the statements contained in the IPO and SPO Offering Documents were

true and without omission of any material facts and were not misleading. In alleging the foregoing,

Plaintiff specifically disclaims any allegation of fraud.

       76.     By reason of the conduct alleged herein, each Defendant named in this Count

violated §11 of the Securities Act.

       77.     None of the untrue statements or omissions of material fact in the IPO and SPO

Offering Documents alleged herein was a forward-looking statement. Rather, each such statement




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concerned existing facts. Moreover, the IPO and SPO Offering Documents did not properly

identify any of the untrue statements as forward-looking statements and did not disclose

information that undermined the putative validity of these statements.

        78.     Plaintiff acquired the Company’s ordinary shares pursuant or traceable to the IPO

and SPO Offering Documents and without knowledge of the untruths and/or omissions alleged

herein. Plaintiff sustained damages, and the price of the Company’s ordinary shares declined

substantially due to material misstatements in the IPO and SPO Offering Documents.

        79.     This Count is brought within one year after the discovery of the untrue statements

and omissions and within three years of the date of the IPO and SPO.

        80.     By virtue of the foregoing, Plaintiff and the other members of the Class are entitled

to damages under §11, as measured by the provisions of §11(e), from the Defendants and each of

them, jointly and severally.

                                           COUNT II
                           Violations of §12(a)(2) of the Securities Act
                                    (Against All Defendants)

        81.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        82.     This Count is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.

§77l(a)(2), on behalf of the Class, against all Defendants. Section 12(a)(2) gives rise to liability

as to “[a]ny person who . . . offers or sells a security . . . by means of a prospectus or oral

communication, which includes an untrue statement of a material fact or omits to state a material

fact necessary in order to make the statements, in the light of the circumstances under which they

were made, not misleading.” 15 U.S.C.§77l(a)(2). Liability for a violation of §12(a)(2) extends

to those, at a minimum, who passed title to the security to the purchaser, as well as those who

solicited the purchase.


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       83.     This is a non-fraud Count. Plaintiff does not assert that Defendants committed

intentional or reckless misconduct or that Defendants acted with scienter or fraudulent intent.

       84.     Defendants named in this Count were sellers, offerors, and/or solicitors of

purchasers of the Company’s securities offered pursuant to the defective April and December

Prospectuses. Defendants issued or caused to be issued the April and December Prospectuses,

which were used to induce investors, such as Plaintiff and the other members of the Class, to

purchase the Company’s ordinary shares.          Defendants solicited the purchase of securities

motivated at least in part by a desire to serve their own financial interests.

       85.     The April and December Prospectuses contained untrue statements of material

facts, omitted to state other facts necessary to make the statements made not misleading, and

omitted material facts required to be stated therein. The actions of solicitation by the Defendants

named in this Count included participating in the preparation of the false and misleading April and

December Prospectuses and marketing of Tufin’s ordinary shares to investors, such as Plaintiff

and the other members of the Class.

       86.     Defendants named in this Count owed to the purchasers of Tufin ordinary shares,

including Plaintiff and the other members of the Class, the duty to make a reasonable and diligent

investigation of the statements contained in the April and December Prospectuses to ensure that

such statements were true and that there was no omission to state a material fact required to be

stated in order to make the statements contained therein not misleading. By virtue of each of these

Defendants’ failure to exercise reasonable care, the April and December Prospectuses contained

misrepresentations of material facts and omissions of material facts necessary to make statements

therein not misleading.




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       87.     Plaintiff and the other Class members did not know, nor could they have known, of

the untruths or omissions contained in the April and December Prospectuses.

       88.     These Defendants were obligated to make a reasonable and diligent investigation

of the statements contained in the April and December Prospectuses to ensure that such statements

were true and that there was no omission of material fact required to be stated in order to make the

statements contained therein not misleading. None of these Defendants made a reasonable

investigation or possessed reasonable grounds for the belief that the statements contained in the

April and December Prospectuses were accurate and complete in all material respects. Had they

done so, these Defendants could have known of the material misstatements and omissions alleged

herein. In alleging the foregoing, Plaintiff specifically disclaims any allegation of fraud.

       89.     This Count is brought within one year after discovery of the untrue statements and

omissions in the April and December Prospectuses and within three years after the Company’s

ordinary shares were sold to the Class in connection with the IPO and SPO.

       90.     By reason of the conduct alleged herein, the Defendants named in this Count

violated §12(a)(2) of the Securities Act. As a direct and proximate result of such violation, Plaintiff

and the other members of the Class, who purchased Tufin ordinary shares pursuant to the April

and December Prospectuses, sustained substantial damages in connection with their share

purchases. Accordingly, Plaintiff and the other members of the Class, who hold the ordinary shares

issued pursuant to the April and December Prospectuses, have the right to rescind and recover the

consideration paid for their ordinary shares with interest thereon or damages as allowed by law or

in equity. Class members who have sold their Tufin ordinary shares seek damages to the extent

permitted by law.




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                                           COUNT III
                              Violations of §15 of the Securities Act
                              (Against the Individual Defendants)

        91.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        92.     This Count is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o, on

behalf of the Class, against each of the Individual Defendants.

        93.     The Individual Defendants were controlling persons of the Company within the

meaning of §15 of the Securities Act. By reason of their ownership interest in, senior management

positions at, and/or directorships held at the Company, as alleged above, these Defendants invested

in, individually and collectively, had the power to influence, and exercised same over the Company

to cause it to engage in the conduct complained of herein. The Company controlled the Individual

Defendants and all of Tufin’s employees.

        94.     Similarly, each of the other Individual Defendants not only controlled those subject

to liability as primary violators of §§11 and 12(a)(2) of the Securities Act, as alleged in Counts I

and II above, they directly participated in controlling Tufin by having signed or authorized the

signing of the IPO and SPO Offering Documents and authorizing the issuance of Tufin ordinary

shares to Plaintiff and members of the Class.

        95.     As control persons of Tufin, each of the Individual Defendants are jointly and

severally liable pursuant to §15 of the Securities Act with and to the same extent as Tufin for its

violations of §11 of the Securities Act.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the other members of the Class, prays

for judgment as follows:




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          A.     Declaring that the instant action may be maintained as a class action under Fed. R.

Civ. P. 23 and certifying Plaintiff as the Class Representative;

          B.     Awarding Plaintiff and the other members of the Class compensatory damages

against all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing in an amount to be proven at trial, including interest thereon;

          C.     Awarding Plaintiff and the other members of the Class rescission on their §12(a)(2)

claims;

          D.     Awarding Plaintiff and the other members of the Class pre-judgment and post-

judgment interest, as well as reasonable attorneys’ fees, expert witness fees, and other costs and

disbursements; and

          E.     Awarding Plaintiff and the other members of the Class such other and further relief

as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.

DATED: July 21, 2020
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